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 3                                                            The Honorable Richard A. Jones

 4

 5                     UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF WASHINGTON
 6                                 AT SEATTLE

 7     JESSICA BENTON, SHELBY                     No. 2:20-CV-01174-RAJ
       BRYANT, ANNE MARIE
 8     CAVANAUGH, ALYSSA
       GARRISON, and CLARE THOMAS,
 9                                                STIPULATED MOTION AND ORDER OF
                                    Plaintiffs,   DISMISSAL AS TO ALL CLAIMS
10
       v.
11                                                NOTE ON MOTION CALENDAR:
       CITY OF SEATTLE,                           September 14, 2021
12
                                    Defendant.
13

14          It is hereby STIPULATED AND AGREED, by and between plaintiffs, Jessica
15   Benton, Shelby Bryan, Anne Marie Cavanaugh, Alyssa Garrison, and Clare Thomas,
16   through counsel, J. Talitha Hazelton, and defendants, City of Seattle, through its counsel
17   Thomas P. Miller, that the above-entitled action as to all claims may be dismissed with
18   prejudice and without costs.
19          Dated this 14TH day of September.
20                                        /s/ J. Talitha Hazelton
                                          J. TALITHA HAZELTON, WSBA No. 52460
21                                        Counsel for Plaintiffs
                                                                   SMITH LAW, LLC
22
      STIPULATION AND ORDER OF DISMISSAL                           4301 NE 4th St. PO Box 2767
      AS TO ALL CLAIMS – 1                                         Renton, WA 98059
23                                                                 Phone: (206) 226-7447
                                                                   Fax: (250) 900-2664
         Case 2:20-cv-01174-RAJ Document 57 Filed 09/14/21 Page 2 of 2




 1                                       /s/ Thomas P. Miller
                                         THOMAS P. MILLER, WSBA No.34473
 2                                       Counsel for Defendant

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 5
                                             ORDER
 6
                     THIS MATTER having come before the undersigned judge of the above-
 7
     entitled Court, based on the foregoing stipulation, now, therefore,
 8
                     IT IS HEREBY ORDERED that this matter, including all claims, shall
 9
     be dismissed from the above-entitled action with prejudice and without costs or interest
10
     to any party.
11

12                   DONE IN OPEN COURT this ____ day of September, 2021.

13

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                                                        _____________________________
16                                                      RICHARD A. JONES
                                                        United States District Judge
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                                                                    SMITH LAW, LLC
22
        STIPULATION AND ORDER OF DISMISSAL                          4301 NE 4th St. PO Box 2767
        AS TO ALL CLAIMS – 2                                        Renton, WA 98059
23                                                                  Phone: (206) 226-7447
                                                                    Fax: (250) 900-2664
